Case: 1:12-cv-06425 Document #: 1-3 Filed: 08/14/12 Page 1 of 41 PagelD #:136

EXHIBIT C
Case: 1:12-cv-06425 Document #: 1-3 Filed: 08/14/12 Page 2 of 41 PagelD #:137

AFFIDAVIT

Linda D. Hautala, being first duly sworn on oath, deposes and
says: That she is a duly authorized custodian of the records of

West Bend Mutual Insurance Company and she has the authority to

certify those records.

To the best of my knowledge, the policy attached to this
affidavit is a true copy of the original Standard Workers
Compensation and Employers Liability policy, bearing policy

#WCDO457505-10 as that policy was in effect on January 1, 2010 to
January 1, 2011.

Linda D. Hautala

Subscribed and sworn to before me
this 2nd day of May, 2012.

oo
An ff bAte
Notary Public, Washdigton County, WI
My Commission expires /a-f-13

WEST BEND CUSTOMER # 0110109905 R 216

A MUTUAL INSURANCE COMPANY"

_ Coes 1:12-cv-06425 Document #: 1-3 Filed: 08/14/12 Page 3 of 41 PagelD #:138

West Bend Mutual Insurance Company
1900 S, 18th Avenue | West Bend, WT 53095

STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCD 0457505-10

ENDORSEMENT EFFECTIVE 01/01/2010
CHANGING PAYROLL CODES 5474, 5445, 5606, 8742, 8810, 9227

NAMED INSURED AND ADDRESS AGENCY NAMB AND ADDRESS
ITEM
1. PROCACCIO PAINTING & DRYWALL PRIME MERIDIAN INS GROUP LTD
CO, INC; PROCACCIO PAINTING CO 2700 INTERNATIONAL DR
601 SIDWELL CT UNIT L WEST CHICAGO, IL 60185
ST CHARLES, IL 60174 (630)-443-7300 AGENCY NO. 1262678 O02

FEIN # 364233946 RISK ID # 121002094
: NO ADDITIONAL LOCATIONS

ENTITY OF INSURED - CORPORATIONS

2. POLICY PERIOD - 01/01/2010 TO 01/01/2011 12:01 AM STANDARD TIME AT THE

ADDRESS OF THE INSURED AS STATED HEREIN.

3A. WORKERS COMPENSATION INSURANCE: PART ONE OF THE POLICY APPLIES TO THE WORKERS
COMPENSATION LAW OF THE STATES LISTED HERE: IL.

3B. EMPLOYERS LIABILITY INSURANCE: PART TWO OF THE POLICY APPLIES TO WORK IN EACH
STATE LISTED IN ITEM 3A. THE LIMITS OF OUR LIABILITY UNDER PART TWO ARE:

BODILY INJURY BY ACCIDENT $1,000, 000 EACH ACCIDENT
BODILY INJURY BY DISEASE $1,000,000 BACH EMPLOYEE
BODILY INJURY BY DISEASE $1,000,000 TOTAL POLICY

3C. OTHER STATES INSURANCE: PART THREE OF THE POLICY APPLIES TO ALL STATES
EXCEPT ND, OH, WA, WY, AND THE STATES DESIGNATED IN 3A.

3D. SEE ATTACHED SCHEDULE FOR LIST OF ENDORSEMENTS FORMING A PART OF THIS
POLICY.
4. THE PREMIUM FOR THIS POLICY WILL BE DETERMINED BY CUR MANUALS OF RULES,
CLASSIFICATIONS, RATES, AND RATING PLANS. ALL INFORMATION REQUIRED BELOW
IS SUBJECT TO VERIFICATION AND CHANGE BY AUDIT. ADJUSTMENT OF PREMIUM SHALL
BE MADE ANNUALLY.
CLASSIFICATION OF OPERATIONS

EST RATE EST
ST LOC CODE CLASSIFICATION DESCRIPTION TOT-TERM PER $100 TERM
REMON REMUN PREMIUM
SEE EXTENSION OF INFORMATION PAGE 35,411
PREMIUM DISCOUNT: 6.5% $2,268-
MINIMUM PREMIUM $1,000 (IL) BXPENSE CONSTANT: $280
ESTIMATED ANNUAL PREMIUM: $33,423
ASSESSMENTS & TAXES: $338 DEPOSIT PREMIUM: $33,761
THE FOREGOING AMENDMENT RESULTS IN A RETURN PREMIUM OF: $28,946

*ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED ELSEWHERE IN THIS POLICY,
DO NOT MODIFY ANY OF THE OTHER PROVISIONS OF THIS POLICY.
COUNTERSIGNED THIS DAY OF , 20

AUTHORIZED REPRESENTATIVE

ISSUE DATE 09/21/2010
CUSTOMER # 0110109905

R 216

ase: 1:12-cv-06425 Document #: 1-3 Filed: 08/14/12 Page 4 of 41 PagelD #:139

West Bend Murual Insurance Company
1900 S, 18th Avenue | West Bend. WI 53095

POLICY NUMBER

CHANGING PAYROLL CODES 5474,

NAMED INSURED AND ADDRESS

ITEM

1. PROCACCIO PAINTING & DRYWALL
CO, INC; PROCACCIO PAINTING Co

STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY

WCD 0457505-10

ENDORSEMENT EFFECTIVE 01/01/2010

5445, 5606, 8742, 88

10, 8227

AGENCY NAME AND ADDRESS

601 SIDWELL CT UNIT L WEST CHICAGO, IL 60185
ST CHARLES, TL 60174 {630)-443-7300 AGENCY NO.
FEIN # 364233946 RISK ID # 121002094
POLICY EXTENSION OF INFORMATION PAGE
PAGE 2
CLASSIFICATION GF OPERATIONS
EST RATE
ST LOC CODE CLASSIFICATION DESCRIPTION TOT-TERM PER $100
REMUN REMUN
IL 9001 5445 WALLBOARD INSTALLATION-WITHIN 244,000 12.20
BUILDINGS-& DRIVERS
5474 PAINTING OR PAPER HANGING NCC & 290,000 12.84
SHOP OPERATIONS, DRIVERS
5606 CONTRACTOR-PROJECT MANAGER, 7,600 4.04
CONSTRUCTION EXECUTIVE,
CONSTRUCTION MANAGER OR
CONSTRUCTION SUPERINTENDENT
8227 CONSTRUCT. OR ERECTICN PERMANENT IF ANY 13.490
YARD
8742 SALESPERSONS OR COLLECTORS— 80,000 0.63
OUTSIDE
8810 CLERICAL OFFICE EMPLOYEES NOC 250,000 0.31
SUB-TOTAL
9740 TERRORISM . 0500
9741 CATASTROPHE-NOT CERT ACTS-TERROR -9100
0930 WAIVER
9812 INCREASED COVERAGE II 2.8%
9931 MEDICAL DEDUCTIBLE 1.7%
9898 EXPERIENCE MODIFICATION . 8600
9887 SCHEDULE MODIFICATION 7.0%
9046 CONTR ADJ . 6000

SCHEDULE CONTINUED ON NEXT PAGE

ISSUE DATE 09/21/2010

PRIME MERIDIAN INS GROUP LTD
2700 INTERNATIONAL DR

41262678 02

EST
TERM
PREMIUM

29,768
37,236

307

775
68,590

436
a7
3,354
2,034
1,257-
10,178-
4,377-
23,258-
WEST BEND CUSTOMER # 0110109905 R 216

West Bend Mutual insurance Company
1900 S. 18th Avenue | West Bend. WI 53095

_Cwesre 1:12-cv-06425 Document #: 1-3 Filed: 08/14/12 Page 5 of 41 PagelID #:140

STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCD 0457505-10

ENDORSEMENT EFFECTIVE 01/01/2010
CHANGING PAYROLL CODES 5474, 5445, 5606, 8742, 8810, 8227

NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
ITEM
1, PROCACCIO PAINTING & DRYWALL PRIME MERIDIAN INS GROUP LTD
CO, INC; PROCACCIO PAINTING CO 2700 INTERNATIONAL DR
601 SIDWELL CT UNIT L WEST CHICAGO, IL 60185
ST CHARLES, IL 60174 {630)-443-7300 AGENCY NO. 1262678 02

FEIN # 364233946 RISK ID # 121002094

POLICY EXTENSION OF INFORMATION PAGE
PAGE 3

CLASSIFICATION OF OPERATIONS

EST RATE EST

ST LOC CODE CLASSIFICATION DESCRIPTION TOT-TERM PER $100 TERM
REMUN REMUN PREMIUM
IIC OPERATIONS FUND SURCHARGE 0101 338
TOTAL FOR ILLINOIS 35,411

ISSUE DATE 09/21/2010
WESTBEND CUSTOMER # 0110109905 R 216

West Bend Murual {nsurance Company
1900 §. 18th Avenue | West Bend. WI 53095

_Cueste 1:12-cv-06425 Document #: 1-3 Filed: 08/14/12 Page 6 of 41 PagelD #:141

STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCD 0457505-106

ENDORSEMENT EFFECTIVE 01/01/2010
CHANGING PAYROLL CODES 5474, 5445, 5606, 8742, 8810, 8227

NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
ITSM
1. PROCACCIO PAINTING & DRYWALL PRIME MERIDIAN INS GROUP LTD
co, INC; PROCACCIO PAINTING CO 2700 INTERNATIONAL DR
601 SIDWELL CT UNIT L WEST CHICAGO, IL 60185
ST CHARLES, IL 60174 (630}-443-7300 AGENCY NO. 1262678 02

FEIN # 364233946 RISK ID # 121002094

POLICY ENDORSEMENT SCHEDULE

PAGE 4
NUMBER STATE DESCRIPTION
WB1188 ALL WEST BEND PRIVACY STATEMENT (01-06}
WCOOO000A ALL WORKERS COMP & EMPLOYERS LIAB.& INS. POL. (92-04)
wcoodo403 ALL EXPERIENCE RATING MODIFICATION FACTOR END. (84-04)
WCOOO0406A ALL PREMIUM DISCOUNT ENDORSEMENT (95~08)

woooo414 ALL NOTIFICATION OF CHANGE IN OWNERSHIP END. (90-07)

WB1130 Ih IMPORTANT NOTICE - SUBCONTRACTORS (84-07)

“WB4093 iL NOTICE OF ELECT TO ACCEPT AN INS DED-ILL W.C. (10-01)

= WC000310 Ih SOLE PROP. PARTNERS OFFICERS & OTHERS END. (84-04)

- WC000313 IL WAIVER OF OUR RIGHT TO REC FROM OTH END. (84-04)
weoo04i9 IL PREMIUM DUE DATE ENDORSEMENT (01-01)
wCoo0d421C IL CATASTROPHE (OTHER THAN CERT ACTS OF TERRORISM) (08-09)
WOO00422A IL TERRORISM INS PROGRAM REAUTH ACT DISCLOSURE ENDT (08-09)

SCHEDULE CONTINUED ON NEXT PAGE

ISSUE DATE 09/21/2010
WEST BEND CUSTOMER # 0110109905 R216

West Bend Mutmal [Insurance Company
£900. L8th Avenue | West Bend, Wi 53095

Lease 1:12-cv-06425 Document #: 1-3 Filed: 08/14/12 Page 7 of 41 PagelD #:142

STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCD 0457505-10

ENDORSEMENT EFFECTIVE 01/01/2010
CHANGING PAYROLL CODES 5474, 5445, 5606, 8742, 8810, 8227

NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS

ITEM

1. PROCACCIO PAINTING & DRYWALL PRIME MERIDIAN INS GROUP LTD
CO, INC; PROCACCIO PAINTING co 2700 INTERNATIONAL DR
601 SIDWELL CT UNIT L WEST CHICAGO, IL 60185 .
ST CHARLES, IL 60174 {630)-443-7300 AGENCY NO. 1262678 02

FEIN # 364233946 RISK ID # 121002094

POLICY ENDORSEMENT SCHEDULE

PAGE 5

NUMBER STATE DESCRIPTION

weo120402 TL TLLINOIS CONT CLASS PREMIOM ADJUSTMENT END (92-09}
WC120601C IL ILLINOIS AMENDATORY ENDORSEMENT (01~04}

WC120602A IL ILLINOIS MEDICAL BENEFITS DEDUCTIBLE (92-08)

ISSUE DATE 09/21/2010
WEST BEND CUSTOMER # 0110109905 R 216

West Bend Mutual Insurance Company
1900S. 18th Avenue | West Bend, WI 53095

Csr 1:12-cv-06425 Document #: 1-3 Filed: 08/14/12 Page 8 of 41 PagelD #:143

STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCD 0457505-10

ENDORSEMENT EFFECTIVE 01/01/2010
CHANGING PAYROLL CODES 5474, 5445, 5606, 8742, B810, 8227

NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
ITEM
1.  PROCACCIO PAINTING & DRYWALL PRIM# MERIDIAN INS GROUP LTD
CO, INC; PROCACCIO PAINTING CO 2700 INTERNATIONAL DR
601 SIDWELL CT UNIT L WEST CHICAGO, IL 60185
ST CHARLES, IL 60174 (630)-443-7300 AGENCY NO. 1262678 02

FEIN # 364233946 RISK ID # 121002094

POLICY NAMED INSURED SCHEODOLE
PAGE 6

PROCACCIO PAINTING & DRYWALL CO, INC; PROCACCIO PAINTING CO,
INC

ISSUE DATE 09/21/2010
WEST BEND CUSTOMER # 0110109905 R 227

West Bend Mutual Insurance Company
1900 §. 18th Avenue | West Bend. WI 53095

Covers 1:12-cv-06425 Document #: 1-3 Filed: 08/14/12 Page 9 of 41 PagelID #:144

STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NOMBER WCD 0457505-10

ENDORSEMENT EFFECTIVE 01/01/2010
CHANGING PREMIUMS AND ADDING CONTRACTING ADJUSTMENT FACTOR

NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
ITEM
1. PROCACCIO PAINTING & DRYWALL PRIME MERIDIAN INS GROUP LTD
CO, INC; PROCACCIO PAINTING CO 2700 INTERNATIONAL DR
601 SIDWELL CT UNIT L WEST CHICAGO, IL 60185
ST CHARLES, IL 60174 (630)-443-7300 AGENCY NO. 1262678 02

FEIN # 364233946 RISK ID # 121002094
NO ADDITIONAL LOCATIONS

ENTITY OF INSURED - CORPORATIONS

2. POLICY PERIOD - 01/01/2010 TO 01/01/2011 12:01 AM STANDARD TIME AT THE

ADDRESS GF THE INSURED AS STATED HEREIN.

3A. WORKERS COMPENSATION INSURANCE: PART ONE OF THE POLICY APPLIES TO THE WORKERS
COMPENSATION LAW OF THE STATES LISTED HERE: IL.

3B. EMPLOYERS LIABILITY INSURANCE: PART TWO OF THE POLICY APPLIES TO WORK IN EACH
STATE LISTED IN ITEM 3A. THE LIMITS OF OUR LIABILITY UNDER PART TWO ARE:

BODILY INJURY BY ACCIDENT $1,000,000 EACH ACCIDENT
BODILY INJURY BY DISEASE $1,000,000 EACH EMPLOYEB
BODILY INJURY BY DISEASE $1,000,000 TOTAL POLICY

3C. OTHER STATES INSURANCE: PART THREE OF THE POLICY APPLIES TO ALL STATES
EXCEPT ND, OH, WA, WY, AND THE STATES DESIGNATED IN 3A.

3D. SEE ATTACHED SCHEDULE FOR LIST OF ENDORSEMENTS FORMING A PART GF THIS
POLICY.
4. THE PREMIUM FOR THIS POLICY WILL BE DETERMINED BY OUR MANUALS OF RULES,
CLASSIFICATIONS, RATES, AND RATING PLANS. ALL INFORMATION REQUIRED BELOW
IS SUBJECT TO VERIFICATION AND CHANGE BY AUDIT. ADJUSTMENT OF PREMIUM SHALL
BE MADE ANNUALLY.
CLASSIFICATION OF OPERATIONS

EST RATS EST
ST LOC CODE CLASSIFICATION DESCRIPTION TOT-TERM PER $100 TERM
REMON REMUN PREMIOM
SEE EXTENSION OF INFORMATION PAGE 66,890
PREMIUM DISCOUNT: 7.7% $5,090-
MINIMUM PREMIUM $1,000 (IL} EXPENSE CONSTANT: $280
ESTIMATED ANNUAL PREMIUM: $62,080
ASSESSMENTS & TAXES: $627 DEPOSIT PREMIUM: $62,707
THE FOREGOING AMENDMENT RESULTS IN A RETURN PREMIUM OF: $37,234

*ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED BLSEWHERE IN THIS POLICY,
DO NOT MODIFY ANY OF THE OTHER PROVISIONS OF THIS POLICY.
COUNTERSIGNED THIS DAY OF , 20

AUTHORIZED REPRESENTATIVE

ISSUE DATE 03/25/2010
WEST BEND. CUSTOMER # 0110109905 R 227

West Bend Mutual Insurance Company
1900 $. 18ch Avenue | West Bend. WI 53095

Ls 1:12-cv-06425 Document #: 1-3 Filed: 08/14/12 Page 10 of 41 PagelD #:145

STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCD 0457505-10

ENDORSEMENT EFFECTIVE 01/01/2010
CHANGING PREMIUMS AND ADDING CONTRACTING ADJUSTMENT FACTOR

NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
ITEM
1. PROCACCIO PAINTING & DRYWALL PRIME MERIDIAN INS GROUP LTD
co, INC; PROCACCIO PAINTING CO 2700 INTERNATIONAL DR
601 SIDWELL CT UNIT L WEST CHICAGO, IL 60185
ST CHARLES, IL 60174 (630) -443-7300 AGENCY NO. 1262678 02

FEIN # 364233946 RISK ID # 121002094

POLICY EXTENSION OF INFORMATION PAGE
PAGE 2

CLASSIFICATION OF OPERATIONS

EST RATE EST
ST LOC CODE CLASSIFICATION DESCRIPTION TOT-TERM PER $100 TERM
REMUN REMON PREMIUM
IL 0001 5445 WALLBOARD INSTALLATION-WITHIN 922,463 12.20 63,740
BUILDINGS-—& DRIVERS
5474 PAINTING OR PAPER HANGING NOC & 506,822 12.84 65,076
SHOP OPERATIONS, DRIVERS
5606 CONTRACTOR-PROJECT MANAGER, CON- IF ANY 4.04 0
STRUCTION EXECUTIVE, CON-
STRUCTION MANAGER OR CON-
STRUCTION SUPERINTENDENT
8227 CONSTRUCT. OR ERECTION PERMANENT 22,880 13.40 3,066
YARD
8742 SALESPERSONS OR COLLECTORS— 86,216 0.63 543
OUTSIDE
9810 CLERICAL OFFICE BMPLOYEES NOC 172, 662 0.31 535
SUB-TOTAL 132,960
9740 TERRORISM .6500 656
9741 CATASTROPHE-NOT CERT ACTS-TERROR .0100 131
0930 WAIVER 3,354
9812 INCREASED COVERAGE II 2.8% 3,817
9931 MEDICAL DEDUCTIBLE 1.7% 2,382-
9898 EXPERIENCE MODIFICATION .8600 19,285-
9887 SCHEDULE MODIFICATION 10.0% 0

DELETED, EFFECTIVE 01/01/2010
SCHEDULE CONTINUED ON NEAT PAGE

ISSUE DATE 03/25/2010
WESTIBEND CUSTOMER # 0110109905 R 227

West Bend Mutual Insurance Com pany
1900 S. 18th Avenue | West Bend. W1 $3095

Leia 1:12-cv-06425 Document #: 1-3 Filed: 08/14/12 Page 11 of 41 PagelD #:146

STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCD 0457505-10

ENDORSEMENT EFFECTIVE 01/01/2010
CHANGING PREMIUMS AND ADDING CONTRACTING ADJUSTMENT FACTOR

NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
TTEM
1. PROCACCIO PAINTING & DRYWALL PRIME MERIDIAN INS GROUP LTD
CO, INC; PROCACCIO PAINTING CO 2700 INTERNATIONAL DR
601 SIDWELL CT UNIT L WEST CHICAGO, IL 60185
ST CHARLES, IL 60174 (630)-443-7300 AGENCY NO. 1262678 02
FEIN # 364233946 RISK ID # 121002094
POLICY EXTENSION OF INFORMATION PAGE
PAGE 3

CLASSIFICATION OF OPERATIONS

EST RATE EST
ST LOC CODE CLASSIFICATION DESCRIPTION TOT-TERM PER $100 TERM
REMUN REMUN PREMIUM
9837 SCHEDULE MODIFICATION 7.0% 8,292-
9046 CONTR ADF 6000 44,069-
IIC OPERATIONS FUND SURCHARGE 0101 627
TOTAL FOR ILLINOIS 66,890

ISSUE DATE 03/25/2010
WEST BEND

A MUTUAL INSURANCE COMPANY™

CUSTOMER # 01101095905

R 227

Soma 1:12-cv-06425 Document #: 1-3 Filed: 08/14/12 Page 12 of 41 PagelD #:147

West Bend Mutual Instance Company
1900 S. 18ch Avenue | West Bend. WI 53095

STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY

POLICY NUMBER WCD 0457505-10

NAMED INSURED AND ADDRESS

ITEM

ENDORSEMENT EFFECTIVE 01/01/2010
CHANGING PREMIUMS AND ADDING CONTRACTING ADJUSTMENT FACTOR

1. PROCACCIO PAINTING & DRYWALL
CO, INC; PROCACCIO PAINTING CoO

601 SIDWELL CT UNIT L
ST CHARLES,
FEIN # 364233946 RISK ID # 121002094

POLICY
PAGE 4

NUMBER

WBi188

WCOOQOQ00A

wcoo00403

WCOOO0406A

woood4d14

WB1i30

WB409T

woo00310

WC000313

weoood419

WCO00421C

wooood22a

IL 60174

ENDORSEMENT

AGENCY NAME AND ADDRESS

PRIME MERIDIAN INS GROUP LTD

2700 INTERNATIONAL DR

WEST CHICAGO,

TL 60185

(630)-443-7300 AGENCY NO. 1262678 02

SCHEDULE

SCHEDULE CONTINUED ON NEAT PAGE

ISSUE DATE 03/25/2010

STATE DESCRIPTION

ALL WEST BEND PRIVACY STATEMENT (01-06)

ALL WORKERS COMP & EMPLOYERS LIAB.& INS. POL. (92-04)

ALL EXPERIENCE RATING MODIFICATION FACTOR END. (84-04)

ALL PREMIUM DISCOUNT ENDORSEMENT (95-08)

ALL NOTIFICATION OF CHANGE IN OWNERSHIP END. (90-07)

IL IMPORTANT NOTICE - SUBCONTRACTORS (84-07)

IL NOTICE OF ELECT TO ACCEPT AN INS DED-ILL W.C. (10-01)

IL SOLE PROP. PARTNERS OFFICERS & OTHERS END. (84-04}

IL WAIVER OF OUR RIGHT TO REC FROM OTH END. (84-04)

IL PREMIUM DUE DATE ENDORSEMENT {01-01)

IL CATASTROPHE (OTHER THAN CERT ACTS OF TERRORISM) (98-09)
IL TERRORISM INS PROGRAM REAUTH ACT DISCLOSURE ENDT (08-09)
WEST BEND CUSTOMER # 0110109905 R 227

West Bend Mutual Insurance Company
1900 S$. 18th Avenue i West Bend, W1 $3095

_Cugen 1:12-cv-06425 Document #: 1-3 Filed: 08/14/12 Page 13 of 41 PagelD #:148
Ww

STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCD 0457505-10

ENDORSEMENT EFFECTIVE 91/01/2010
CHANGING PREMIUMS AND ADDING CONTRACTING ADJUSTMENT FACTOR

NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
ITEM
1. PROCACCIO PAINTING & DRYWALL PRIME MERIDIAN INS GROUP LTD
co, INC; PROCACCIO PAINTING CO 2700 INTERNATIONAL DR
601 SIDWELL CT UNIT L WEST CHICAGO, IL 60185
ST CHARLES, IL 60174 (630) -443-7300 AGENCY NO. 1262678 02

FEIN # 364233946 RISK ID # 121002094

POLICY ENDORSEMENT SCHEDULE

PAGE 5

NUMBER STATE DESCRIPTION

we120402 IL ILLINOIS CONT CLASS PREMIUM ADJUSTMENT END (92-09)
WCO120601C IL ILLINOIS AMENDATORY ENDORSEMENT (01-04)

WC120602A IL ILLINOIS MEDICAL BENEFITS DEDUCTIBLE (92-08)

ISSUE DATE 03/25/2010
WEST BEND. CUSTOMER # 0110109905 R227

West Bend Murual Insurance Company
1900S. 18th Avenue | West Bend. W1 53095

Cases 1:12-cv-06425 Document #: 1-3 Filed: 08/14/12 Page 14 of 41 PagelD #:149

STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCD 0457505-10

ENDORSEMENT EFFECTIVE 01/01/2010
CHANGING PREMIUMS AND ADDING CONTRACTING ADJUSTMENT FACTOR

NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
ITEM
1. PROCACCIO PAINTING & DRYWALL PRIME MERIDIAN INS GROUP LTD
CO, INC; PROCACCTO PAINTING CO 2700 INTERNATIONAL DR
601 SIDWELL CT UNIT L WEST CHICAGO, IL 60185
ST CHARLES, IL 60174 (630)-443-7300 AGENCY NO. 1262678 02

FEIN # 364233946 RISK ID # 121002094

POLICY NAMED INSURED SCHEDULE
PAGE 6

PROCACCIG PAINTING & DRYWALL CO, INC; PROCACCIO PAINTING Co,
INC

ISSUE DATE 03/28/2010
WESTIBEND. CUSTOMER # 0110109905 R 260

Cee: 1:12-cv-06425 Document #: 1-3 Filed: 08/14/12 Page 15 of 41 PagelD #:150

West Bend Mutual Insurance Company
1900 §. 18th Avenue | West Bend. “1 53095

STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY

POLICY NUMBER WCD 0457505-10

RENEWAL
NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
ITEM
1. PROCACCIO PAINTING & DRYWALL PRIME MERIDIAN INS GROUP LTD
CO, INC; PROCACCIO PAINTING CO 2700 INTERNATIONAL DR
601 SIDWELL CT UNIT L WEST CHICAGO, TL 60185
ST CHARLES, IL 60174 {630})-443-7300 AGENCY NO. 1262678 02

FEIN # 364233946 RISK ID # 121002094

3A.

3B.

3c.

3D.

ST

NO ADDITIONAL LOCATIONS
ENTITY OF INSURED - CORPORATIONS
POLICY PERIOD - 01/01/2010 TO 01/01/2011 12:01 AM STANDARD TIME AT THE
ADDRESS OF THE INSURED AS STATED HEREIN.
WORKERS COMPENSATION INSURANCE: PART ONE OF THE POLICY APPLIES TO THE WORKERS
COMPENSATION LAW OF THE STATES LISTED HERE: IL.
EMPLOYERS LIABILITY INSURANCE: PART TWO OF THE POLICY APPLIES TO WORK IN BACH
STATE LISTED IN ITEM 3A. THE LIMITS OF OUR LIABILITY UNDER PART TWO ARE:
BODILY INJURY BY ACCIDENT $1,000,000 EACH ACCIDENT
BODILY INJURY BY DISEASE $1,000,000 EACH EMPLOYER
BODILY INJURY BY DISEASE $1,000,000 TOTAL POLICY
OTHER STATES INSURANCE: PART THREE OF THE POLICY APPLIES TO ALL STATES
EXCEPT ND, OH, WA, WY, AND THE STATES DESIGNATED IN 3A.

SEE ATTACHED SCHEDULE FOR LIST OF ENDORSEMENTS FORMING A PART OF THIS
POLICY.
THE PREMIUM FOR THIS POLICY WILL BE DETERMINED BY OUR MANUALS OF RULES,
CLASSIFICATIONS, RATES, AND RATING PLANS. ALL INFORMATION REQUIRED BELOW
IS SUBJECT TO VERIFICATION AND CHANGE BY AUDIT. ADJUSTMENT OF PREMIUM SHALL
BE MADE ANNUALLY.
CLASSIFICATION OF OPERATIONS
EST RATE EST
LOC CODE CLASSTFICATION DESCRIPTION TOT-TERM PER $100 TERM
REMUN REMUN PREMIUM

SEE EXTENSION OF INFORMATION PAGE 107,405

PREMIUM DISCOUNT: 8.2% $8,743-

MINIMUM PREMIUM $1,000 (IL) EXPENSE CONSTANT: $2380

ESTIMATED ANNUAL PREMIUM: $98,942

ASSESSMENTS & TAXES: $999 DEPOSIT PREMIUM: $99,941
*ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED ELSEWHERE IN THIS POLICY,
DO NOT MODIFY ANY OF THE OTHER PROVISIONS OF THIS POLICY.

COUNTERSIGNED THIS DAY OF , 20

AUTHORIZED REPRESENTATIVE

ISSUE DATE 12/31/2009
WEST BEND CUSTOMER # 0110109905 R 260

West Bend Mutual [Insurance Company
1900 S, 18th Avenue [ West Bend. WI 53095

Pues 1:12-cv-06425 Document #: 1-3 Filed: 08/14/12 Page 16 of 41 PagelD #:151

STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCD 0457505-10

RENEWAL
NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
ITEM
i. PROCACCIO PAINTING & DRYWALL PRIME MERIDIAN INS GROUP LTD
CO, INC; PROCACCIO PAINTING CoO 2700 INTERNATIONAL DR
601 SIDWELL CT UNIT L WEST CHICAGO, IL 60185
ST CHARLES, IL 60174 (630)~-443-7300 AGENCY NO. 1262678 02
FEIN # 364233946 RISK ID # 121002094
POLICY EXTENSION OF INFORMATION PAGE
PAGE 2

CLASSIFICATION OF OPERATIONS

EST RATE EST
ST LOC CODE CLASSIFICATION DESCRIPTION TOT-TERM PER $100 TERM
REMUN REMUN PREMIUM
TL 0001 5445 WALLBOARD INSTALLATION-WITHIN 522,463 12.20 63,740
BUILDINGS-& DRIVERS
5474 PAINTING OR PAPER HANGING NOC & 506,822 12.84 65,076
SHOP CPERATIONS, DRIVERS
5606 CONTRACTGR-PROJECT MANAGER, CON- IF ANY 4,04 0
STRUCTION EXECUTIVE, CON-
STRUCTION MANAGER OR CON-
STROCTION SUPERINTENDENT
8227 CONSTRUCT. OR ERECTION PERMANENT 22,880 13.40 3,066
YARD
8742 SALESPERSONS OR COLLECTORS-— 86,216 0.63 543
OUTSIDE
8810 CLERICAL OFFICE EMPLOYEES NOC 172,662 0.31 535
SUB-TOTAL 132,960
9740 TERRORISM -9500 656
9741 CATASTROPHE-NOT CERT ACTS-TERROR 0100 131
0930 WAIVER 3,354
9812 INCREASED COVERAGE II 2.8% 3,817
9931 MEDICAL DEDUCTIBLE 1.7% 2,382-
9898 EXPERIENCE MODIFICATION .860C 19,285-
9897 SCHEDULE MODIFICATION 10.03% 11,846~-
IIC OPERATIONS FUND SURCHARGE 0101 999
TOTAL FOR ILLINOIS 107,405

ISSUE DATE 12/31/2009
WEST BEND CUSTOMER # 6110109905 R 260

West Bend Murual Insurance Company
1900 §. 18th Avenue | West Bend. WI 53095

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STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCD 0457505-10

RENEWAL
NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
1. PROCACCIO PAINTING & DRYWALL PRIME MERIDIAN INS GROUP LTD
CO, INC; PROCACCIO PAINTING Co 2700 INTERNATIONAL DR
601 SIDWELL CT UNIT L WEST CHICAGO, IL 60185
ST CHARLES, IL 60174 (630})-443-7300 AGENCY NO. 1262678 02
FEIN $ 364233946 RISK ID # 121002094
POLICY ENDORSEMENT SCHEDULE
PAGE 3
NUMBER STATE DESCRIPTION
WB1188 ALL WEST BEND PRIVACY STATEMENT (01-06)
WCOOOCO0A ALL WORKERS COMP & EMPLOYERS LIAB.& INS. POL. {92-04}
WCQ00403 ALL EXPERIENCE RATING MODIFICATION FACTOR END. (84-04)
WCOOO0406A ALL PREMIUM DISCOUNT ENDORSEMENT (95-08)
wceooc414 ALL NOTIFICATION OF CHANGE IN OWNERSHIP END. (90-07)
WB1130 IL IMPORTANT NOTICE - SUBCONTRACTORS (84-07)
WB409T IL NOTICE OF ELECT TO ACCEPT AN INS DED-ILL W.C. (10-01)
wo000310 IL SOLE PROP. PARTNERS OFFICERS & OTHERS END. (84-04)
WCO00313 IL WAIVER OF OUR RIGHT TO REC FROM OTH END. (84-04)
weoooo419 IL PREMIUM DUE DATE ENDORSEMENT (01-01)
wedod421c TL CATASTROPHE (OTHER THAN CERT ACTS OF TERRORISM) (08-09)
woood422A IL TERRORISM INS PROGRAM REAUTH ACT DISCLOSURE ENDT (08-09}

SCHEDULE CONTINUED ON NEXT PAGE

ISSUE DATE 12/31/2009
WEST SEND. CUSTOMER # 0110109905 R 260

West Bend Mutual Insurance Company
1900 S. 18th Avenue | West Bend. Wi 53095

Loans 1:12-cv-06425 Document #: 1-3 Filed: 08/14/12 Page 18 of 41 PagelD #:153

STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCD 0457505-106

RENEWAL
NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
ITEM
1. PROCACCIO PAINTING & DRYWALL PRIME MERIDIAN INS GROUP LTD
CO, INC; PROCACCIO PAINTING CO 2700 INTERNATIONAL DR
601 SIDWELL CT UNIT L WEST CHICAGO, IL 60185
ST CHARLES, IL 60174 (630}-443-7300 AGENCY NO. 1262678 02

FEIN # 364233946 RISK ID # 121002094

POLICY BNDORSEMENT SCHEDULE

PAGE 4

NUMBER STATE DESCRIPTION

WC120402 TL ILLINOIS CONT CLASS PREMIUM ADJUSTMENT END (92-09)
WC120601C IL ILLINOIS AMENDATORY ENDORSEMENT (01-04)

WC120602A IL ILLINOIS MEDICAL BENEFITS DEDUCTIBLE (92-08)

ISSUE DATE 12/31/2009
WEST SEND. CUSTOMER # 0110109905 R 260

West Bend Mutual Instance Company
1990 §, 18th Avenue | West Bend. W1 53095

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STANDARD WORKERS COMPENSATION
AND EMPLOYERS LIABILITY POLICY
POLICY NUMBER WCD 0457505-16

RENEWAL
NAMED INSURED AND ADDRESS AGENCY NAME AND ADDRESS
ITEM
1. PROCACCIO PAINTING & DRYWALL PRIME MERIDIAN INS GROUP LTD
CO, INC; PROCACCIO PAINTING CO 2700 INTERNATIONAL DR
601 SIDWELL CT UNIT L WEST CHICAGO, IL 60185
ST CHARLES, IL 60174 (630)-443-7300 AGENCY NO. 1262678 02

FEIN # 364233946 RISK ID # 121002094

POLICY NAMED INSURED SCHEDULE
PAGE 5

PROCACCIO PAINTING & DRYWALL CO, INC; PROCACCIO PAINTING Co,
INC

ISSUE DATE 12/31/2009
Case: 1:12-cv-06425 Document #: 1-3 Filed: 08/14/12 Page 20 of 41 PagelD #:155

WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY
WC 00 03 10 (04-84)

SOLE PROPRIETORS, PARTNERS, OFFICERS AND OTHERS COVERAGE ENDORSEMENT

An election was made by or on behalf of each person described in the Schedule to be subject to the workers
compensation law of the state named in the Schedule. The premium basis for the policy includes the re-
muneration of such persons.

Schedule
Persons State
Sole Proprietor:
Partners:
Officers:
DORIS PROCACCIO IL
ANTONIO PROCACCIO (12/13/1957) IL

Others:

This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
(The information below is required only when this endorsement is issued subsequent to preparation of the policy.)

Endorsement Effective Policy No. Endorsement No.
Insured Premium $
insurance Company Countersigned By

WC 00 03 10 (04-84)

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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY
WC0003413-{(Ed_04 84)

WAIVER OF OUR RIGHT TO RECOVER FROM OTHERS ENDORSEMENT

We have the right to recover our payments from anyone liable for an injury covered by this policy. We will not
enforce our right against the person or organization named in the Schedule. {This agreement applies only to the
extent that you perform work under a written contract that requires you to obtain this agreement from us.)

This agreement shall not operate directly or indirectly to benefit anyone not named in the Schedule.
Schedule

ANY PARTY WITH WHOM THE INSURED AGREES TO WAIVE SUBROGATION
IN A WRITTEN CONTRACT.

This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.

(The information betow is required only when this endersement is issued subsequent to preparation of the policy.)

Endorsement Effective Policy No. Endorsement No.

Insured Premium $

Insurance Company Countersigned by

WC 00 03 13 (04 84) Page 1 of 1

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WEST BEND PRIVACY STATEMENT

At West Bend your Privacy is Important to us!

West Bend is committed to providing you, our Customer, with the finest insurance products backed by legendary ser-
vice, While information is fundamental to our ability to serve our Customers, we recognize the importance of maintain-
ing the privacy of your personal information.

Therefore, the following are principles that West Bend has established for the gathering and sharing of consumer
information:

« We do not and will not sell your personal information to anyone.

« We maintain physical, electronic, and procedural safeguards that comply with applicable privacy regulations in order
to protect your non-public personal information.

* We collect and use Customer information only to the extent required to conduct our business and to meet the high-
est quality service standards.

* We require any organization that helps us serve our Customers to meet our privacy standards.

* We exchange Customer information with non-affiliated entities only to the extent required or permitted by law, for
underwriting, administrative, or risk management purposes, verification, and to detect and prevent fraud.

GATHERING OF INFORMATION

We obtain information about you, our Customer, from your applications, transactions, and other interactions with us,
as well as credit reporting agencies and other third parties. We obtain and use this information only in accordance with
applicable law or in response to your request for a contract with us. The information we gather helps us identify who
you are, manage our relationship with you, and develop insurance products and services that meet your needs.

SHARING OF INFORMATION

We are dedicated to serving our Customers’ needs for privacy. We do NOT share our Customer's non-public personal
information with non-affiliated companies except as permitted or required by law. We restrict access to your nonpublic
personal information to our employees and agents who need te know that information to provide products or services
to you. We will not reveal our Customer information to any external organization unless we have previously informed
our Customer in this or other disclosures or agreements, have been authorized by our Customer, or are otherwise
required by law to do so.

We will not use or share with non-affiliated companies personally identifiable medical information for any purpose
other than the underwriting or administration of our Customer's policy or claim, or as disclosed to our Customer when
the information is collected, or to which our Customer consents.

MONITORING OF PRIVACY PRACTICES

We will monitor our practices to insure that our Customers’ privacy is respected. We will also conduct our business in
a manner that meets the privacy regulations of any state in which we do business.

WB 1188 06 01 West Bend Mutual Insurance Company Page 1 of 1
West Bend, Wisconsin 53095
Case: 1:12-cv-06425 Document #: 1-3 Filed: 08/14/12 Page 23 of 41 PagelD #:158

WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY
: WC 00 00 00 A (Ed. 04 92)

WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY

In return for the payment of the premium and subject PART ONE

to all terms of this policy, we agree with you as follows: WORKERS COMPENSATION INSURANCE
GENERAL SECTION A. How This Insurance Applies

A. The Policy This workers compensation insurance applies to -

This policy includes at its effective date the Infor-
mation Page and all endorsements and schedules
listed there. It is a contract of insurance between
you (the employer named in Item 1 of the Informa-
tion Page) and us (the insurer named on the Infor-
mation Page). The only agreements relating to this
insurance are stated in this policy. The terms of
this policy may not be changed or waived except by
endorsement issued by us to be part of this policy.

. Who is Insured

You are insured if you are an employer named in
item 1 of the Information Page. If that employer is a
partnership, and if you are one of its partners, you
are insured, but only in your capacity as an em-
ployer of the partnership's employees.

. Workers Compensation Law

Workers Compensation Law means the workers or
workmen's compensation law and occupational
disease faw of each state or territory named in Item
3.A. of the Information Page. It includes any
amendments to that law which are in effect during
the policy period. It does not include any federal
workers or workmen's compensation law, any fed-
eral occupational disease law or the provisions of
any law that provide nonoccupational disability
benefits.

, State

State means any state of the United States of
America, and the District of Columbia.

. Locations

This policy covers all of your workplaces listed in
Items 7 or 4 of the Information Page; and it covers
all other workplaces in Item 3.A. states unless you
have other insurance or are self-insured for such
workplaces.

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bodily injury by accident or bodily injury by disease.
Bodily injury includes resulting death.

1. Bodily injury by accident must occur during the
policy period.

2. Bodily injury by disease must be caused or
aggravated by the conditions of your employ-
ment. The employee's last day of jast exposure
to the conditions causing or aggravating such
bodily injury by disease must occur during the
policy period.

. We Will Pay

We will pay promptly when due the benefits re-
quired of you by the workers compensation law,

. We Will Defend

We have the right and duty to defend at our ex-
pense any claim, proceeding or suit against you for
benefits payable by this insurance. We have the
right to investigate and settle these claims, pro-
ceedings or suits.

We have no duty to defend a claim, proceeding or
suit that is not covered by this insurance.

. We Will Also Pay

We will also pay these costs, in addition to other
amounts payable under this insurance, as part of
any claim, proceeding or suit we defend:

1. reasonable expenses incurred at our request,
_ but not loss of earnings;

2. premiums for bonds to release attachments and
for appeal bonds in bond amounts up to the
amount payable under this insurance;

3. litigation costs taxed against you;

4. interest on a judgment as required by faw until
we offer the amount due under this insurance;
and

5. expenses we incur.

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E. Other insurance

We will not pay more than our share of benefits
and casts covered by this insurance and other in-
surance or self-insurance. Subject to any limits of
liability that may apply, all shares will be equal until
the loss is paid. If any insurance or self-insurance
is exhausted, the shares of all remaining insurance
will be equal until the loss is paid.

. Payments You Must Make

You are responsible for any payments in excess of
the benefits regularly provided by the workers com-
pensation law including those required be-cause:

1. of your serious and willful misconduct;

2. you knowingly employ an employee in violation
of law;

3. you fail to comply with a health or safety law or
regulation; or

4. you discharge, coerce or otherwise discriminate
against any. employee in violation of the workers
compensation law.

If we make any payments in excess of the benefits
regularly provided by the workers compensation
law on your behalf, you will reimburse us promptly,

. Recovery From Others

We have your rights, and the rights of persons en-
titled to the benefits of this insurance, to recover
our payments from anyone liable for the injury. You
will do everything necessary to protect those rights
for us and to help us enforce them.

. Statutory Provisions

These statements apply where they are required by
law.

1. As between an injured worker and us, we have
notice of the injury when you have notice.

2. Your default or the bankruptcy or insolvency of
you or your estate will not relieve us of our du-
ties under this insurance after an injury occurs,

3.-We are directly and primarily liable to any per-
son entitled to the benefits payable by this in-
surance, Those persons may enforce our du-
ties; so may an agency authorized by law. En-
forcement may be against us or against you
and us.

4, Jurisdiction over you is jurisdiction over us for
purposes of the workers compensation law. We
are bound by decisions against you under that
law, subject to the provisions of this policy that
are not in conflict with that law.

Page 2 of 6

5. This insurance conforms to the parts of the
workers compensation law that apply to:

a. benefits payable by this insurance;

b. special taxes, payments into security or
other special funds, and assessments pay-
able by us under that law.

6. Terms of this insurance that conflict with the
workers compensation law are changed by this
statement te conform to that law.

Nothing in these paragraphs relieves you of your
duties under this policy.

PART TWO
EMPLOYERS LIABILITY INSURANCE
A. How This insurance Applies

This employers liability insurance applies ta bodily
injury by accident or bodily injury by disease. Bodily
injury includes resulting death.

1. The bodily injury must arise out of and in the
course of the injured employee's employment
by you.

2. The employment must be necessary or inci-
dental to your work in a state or territary listed in
tem 3.A. of the information Page.

3. Bodily injury by accident must occur during the
policy period.

4. Bodily injury by disease must be caused or
aggravated by the conditions of your employ-
ment. The employee's last day of last exposure
to the conditions causing or aggravating such
bodily injury by disease must occur during the
policy period.

5. If you are sued, the original suit and any related
legal actions for damages for bodily injury by
accident or by disease must be brought in the
United States of America, its territories or pos-
sessions, or Canada.

. We Will Pay

We will pay all sums you legally must pay as dam-
ages because of bodily injury to your employees,
provided the bodily injury is covered by this Em-
ployers Liability Insurance.

The damages we will pay, where recovery is per-
mitted by law, include damages:

1. for which you are liable to a third party by rea-
son of a claim or suit against you by that third
party to recover the damages claimed against
such third party as a result of injury to your em-
ployee;

2. for care and loss of services; and

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‘3. for consequential bodily injury to a spouse,
child, parent, brother or sister of the injured
employee;

provided that these damages are the direct conse-

quence of bodily injury that arises out of and in the
course of the injured employee's employment by
you; and

4, because of bedily injury to your employee that
arises out of and in the course of employment,
claimed against you in a capacity other than as
employer.

. Exclusions
This insurance does not cover:

1. liability assumed under a contract. This exclu-
sion does not apply to a warranty that your work
will be done in a workmanlike manner;

2. punitive or exemplary damages because of
bodily injury to an employee employed in viola-
tion of law;

3. bodily injury to an employee while employed in
violation of faw with your actual knowledge or
the actual knowledge of any of your executive
officers;

4. any obligation imposed by a workers compen-
sation, occupational disease, Unemployment
compensation, or disability benefits law, or any
similar-law;

§. bodily injury intentionally caused or aggravated
by you;”

6. bodily injury occurring outside the United States
of America, its territories or possessions, and
Canada. This exclusion does not apply to bodily
injury to a citizen or resident of the United
States of America or Canada who is temporarily
out-sidé these countries;

7. damages arising out of coercion, criticism, de-
motion, evaluation, reassignment, discipline,
defamation, harassment, humiliation, ciscrimi-
nation against or termination of any employee,
or any personnel practices, policies, acts or
omissions; ,

8. bodily injury to any person in work subject to the
Longshore and Harbor Workers' Compensation
Act (33 USC Sections 961-950), the Non-
appropriated Fund Instrumentalities Act (5 USC
Sections 8171-8173), the Outer Continental
Shelf Lands Act (43 USC Sections 1331-
1356), the Defense Base Act (42 USC
Sections 1651-1654), the Federal Coal Mine
Health and Safety Act of 1969 (30 USC
Sections 901-942), any other federal workers
or workmen's compensation law or other federal
occupational disease law, or any amendments
to these laws;

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8. bodily injury to any person in work subject to the
Federal Employers’ Liability Act (45 USC Sec-
tions 51-60), any other federal laws obligating
an employer fo pay damages to an employee
due to bodily injury arising out of or in the
course of employment, or any amendments to
those laws;

10. bodily injury to a master or member of the crew
of any vessel;

11. fines or penalties imposed for violation of fed-
eral or state law; and :

12. damages payable under the Migrant and Sea-
sonal Agricultural Worker Protection Act (29
USC Sections 1801-1872) and under any other
federal law awarding damages for violation of
those laws or regulations issued thereunder,
and any amendments to those laws.

D. We Will Defend

We have the right and duty to defend, at our ex-
pense, any claim, proceeding or suit against you for
damages payable by this insurance. We have the
right to investigate and settle these claims, pro-
ceedings and suits.

We have no duty to defend a claim, proceeding or
suit that is not cavered by this insurance. We have
no duty to defend or continue defending after we
have paid our applicable limit of liability under this
insurance.

. We Will Also Pay

We will also pay these costs, in addition to other
amounts payable under this insurance, as part of
any claim, proceeding, or suit we defend:

1. reasonable expenses incurred at our request,
but not toss of earnings;

2. premiums for bonds to release attachments and
for appeal bonds in bond amounts up to the
limit of our ttability under this insurance;

3. fitigation costs taxed against you;

4. interest on a judgment as required by law until
we offer the amount due under this insurance;
and

5. expenses we incur.

. Other [Insurance

We will not pay more than our share of damages
and costs covered by this insurance and other in-
surance or self-insurance. Subject to any limits of
liability that apply, all shares will be equal until the
foss is paid. if any insurance or self-insurance is
exhausted, the shares of all remaining insurance
and self-insurance will be equal until the loss is
paid,

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G. Limits of Liability

Our liability to pay for damages is limited. Our limits
of liability are shown in Item 3.B. of the information

PART THREE
OTHER STATES INSURANCE
A. How This Insurance Applies

Page. They apply as explained below.

1. Bodily Injury by Accident. The limit shown for
“bodily injury by accident—each accident” is the
most we will pay for all damages covered by
this insurance because of bodily injury to one or
more employees in any one accident.

A disease is not bodily injury by accident unless
it results directly from bodily injury by accident.

2. Bodily Injury by Disease. The limit shown for

“bodily injury by disease—policy fimit" is the
most we will pay for all darmages covered by
this insurance and arising out of bodily injury by
disease, regardless of the number of employ-
ees who sustain bodily injury by disease. The
limit shown for “bodily injury by disease—each
employee” is the most we will pay for all dam-
ages because of bodily injury by disease to any
one employee.

Bodily injury by disease does not include dis-
ease that results directly from a bodily injury by
accident.

3. We will not pay any claims for damages after
we have paid the applicable fimit of our liability
under this insurance.

. Recovery From Others

We have your rights to recover our payment from
anyone liable for an injury covered by this insur-
ance. You will do everything necessary to protect
those rights for us and to help us enforce them.

. Actions Against Us

There will be no right of action against us under
this insurance unless:

1. You have complied with all the terms of this
policy; and
2. The amount you owe has been determined with

our consent or by actual trial and final judg-
ment,

This insurance does not give anyone the right to
add us as a defendant in an action against you to
deter-mine your liability. The bankruptcy or insol-
vency of you or your estate will not relieve us of our
abligations under this Part.

Page 4 of 6

1. This other states insurance applies only if one
or more states are shown in item 3.C. of the
Information Page. :

2. If you begin work in any one of those states
after the effective date of this policy and are not
insured or are not self-insured for such work, all
provisions of the policy will apply as though that
state were listed in Item 3.A. of the Information
Page.

3. We will reimburse you for the benefits required
by the workers compensation law of that state if
we are not permitted to pay the benefits directly
to persons entitled to them.

4. If you have work on the effective date of this
policy in any state not listed in Item 3.4. of the
Information Page, coverage will not be afforded
for that state unless we are notified within thirty
days.

B. Notice

Tell us at once if you begin work in any state listed
in Item 3.C. of the Information Page.

PART FOUR
YOUR DUTIES [F INJURY OCCURS

Tail us at once if injury occurs that may be covered
by this policy. Your other duties are listed here.

1. Provide for immediate medical and other serv-
ices required by the workers compensation taw.

2. Give Us or our agent the names and addresses
of the injured persons and of witnesses, and
other information we may need.

3. Promptly give us all notices, demands and legal
papers related to the injury, claim, proceeding
or suit.

4. Cooperate with us and assist us, as we may re-
quest, in the investigation, settlement or de-
fense of any claim, proceeding or suit.

5. Do nothing after an injury occurs that would
interfere with our right to recover from others.

6. Do not voluntarily make payments, assume
obligations or incur expenses, except at your
own cost.

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" PART FIVE—PREMIUM
A. Our Manuals

All premium for this policy will be determined by our
manuals of rules, rates, rating plans and classifica-
tions. We may change our manuals and apply the
changes to this policy if authorized by {aw or a gov-
ernmental agency regulating this insurance.

. Classifications

Item 4 of the Information Page shows the rate and
premium basis for certain business or work classi-
fications. These classifications were assigned
based on an estimate of the exposures you would
have during the policy period. If your actual expo-
sures are not properly described by those classifi-
cations, we will assign proper classifications, rates
and premium basis by endorsement to this policy.

. Remuneration

Premium for each work classification is determined
by multiplying a rate times a premium basis. Re-
muneration is the most common premium basis.
This premium basis includes payroll and all other
remuneration paid or payable during the policy pe-
riod for the services of:

1. all your officers and employees engaged in
work covered by this policy; and

2. all other persons engaged in work that could
make us liable under Part One (Workers Com-
pensation Insurance) of this policy. If you do nat
have payroll records for these persons, the con-
tract price for their services and materials may
be used as the premium basis. This paragraph
2 will not apply if you give us proof that the em-
ployers of these persons lawfully secured their
workers compensation obligations.

» Premium Payments

You will pay ail premium when due. You will pay the
premium even if part or all of a workers compensa-
tion law is not valid.

. Final Premium

The premium shown on the Information Page,
schedules, and endorsements is an estimate. The
final premium will be determined after this policy
ends by using the actual, not the estimated, pre-
mium basis and the proper classifications and
rates that lawfully apply to the business and work
covered by this policy. If the final premium is more
than the premium you paid to us, you must pay us
the balance. If it is less, we will refund the balance
to you. The final premium will not be fess than the
highest minimum premium for the classifications
covered by this policy.

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If this policy is canceled, final premium will be de-
termined in the following way unless our manuals
provide otherwise:

1. If we cancel, final premium will be calculated
pro rata based on the time this policy was in
force. Final premium will not be less than the
pro rata share of the minimum premium.

2. If you cancel, final premium will be more than
pro rata; it will be based on the time this policy
was in force, and increased by our short-rate
cancelation table and procedure. Final premium
will not be less than the minimum premium.

. Records

You will Keep records of information needed to
compute premium. You will provide us with copies
of those records when we ask for them.

. Audit

You will let us examine and audit all your records
that relate to this policy. These records include
ledgers, journals, registers, vouchers, contracts,
tax reports, payroll and disbursernent records, and
pro-grams for storing and retrieving data. We may
con-duct the audits during regular business hours
during the policy period and within three years after
the policy period ends. Information developed by
audit will be used to determine final premium. In-
surance rate service organizations have the same
rights we have under this provision.

PART SIX—CONDITIONS
A. Inspection

We have the right, but are not obliged to inspect
your workplaces at any time. Our inspections are
not safety inspections. They relate only to the in-
surability of the workplaces and the premiums to be
charged. We may give you reports on the condi-
tions we find. We may also recommend changes.
While they may help reduce iosses, we do not un-
dertake to perform the duty of any person to pro-
vide for the health or safety of your employees or
the public. We do not warrant that your workplaces
are safe or healthful or that they comply with laws,
regulations, codes or standards. Insurance rate
service organizations have the same rights we have
under this provision.

. Long Term Policy

If the policy period is longer than one year and six-
teen days, all provisions of this policy will apply as
though a new policy were issued on each annual
anniversary that this policy is in force.

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3. The policy period will end on the day and hour

Cc. fer of ¥ Rights and Dutie
Transfer of Your Rights a $ stated in the cancelation notice.

Your rights or duties under this policy may not be

transferred without our written consent. 4. Any of these provisions that conflict with a law

that controls the cancelation of the insurance in

If you die and we receive notice within thirty days this policy is changed by this statement to com-
after your death, we will cover your legal represen- ply with the law.

tative as insured,

. E. Sole Representative
D. Cancelation

The insured first named in Item 1 of the Information

1. You may cancel this policy. You must mail or Page will act on behalf of all insureds to change
deliver advance written notice to us stating ' this policy, receive return premium, and give or re-
when the cancelation is to take effect. ceive notice of cancelation.

2. We may cancel this policy. We must mail or de-
liver te you not less than ten days advance
written notice stating when the cancelation is to
take effect. Mailing that notice to you at your
mailing address shown in Item 1 of the Infor-
mation Page will be sufficient to prove notice.

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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY
WC 00 04 03 {Ed. 04 84)

EXPERIENCE RATING MODIFICATION FACTOR ENDORSEMENT

The premium for the policy will be adjusted by an experience rating modification factor, The factor was not available
when the policy was issued. The factor, if any, shown on the Information Page is an estimate. We will issue an en-
dorsement to show the proper factor, if different from the factor shown, when it is calculated.

This endorsement changes the policy to which itis attached and is effective on the date issued unless otherwise stated.

{The information below is required only when this endorsementis issued subsequent to preparation of the policy.)

Endorsement Effective Policy No. Endorsement No.
Insured Premium $
Insurance Company Countersigned by

WC 00 04 03 (04 84)

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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY
WC 00 04 06 A (Ed. 08 95)

PREMIUM DISCGUNT ENDORSEMENT

The premium for this policy and the policies, if any, listed in Item 3 of the Schedule may be eligible for a discount. This
endorsement shows your estimated discount in Items 1 or 2 of the Schedule. The final calculation of premium dis-
count will be determined by our manuals and your premium basis as determined by audit. Premium subject to retro-
spective rating is not subject to premium discount.

Schedule
1. State Estimated Eligible Premium
First Next Next
$10,000 $190,000 $1,550,000 Balance

2, Average percentage discount: %

3. Other policies:

4. If there are no entries in Items 1, 2 and 3 of the Schedule, see the Premium Discount Endorsement attached to
your policy number:

This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.

(The information betow is required anly when this endorsement is issued subsequent to preparation of the policy.)

Endorsement Effective Policy No. Endorsement No.

Insured Premium $

insurance Company Countersigned by

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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY
WC 00 04 14 (Ed. 07 90)

NOTIFICATION OF CHANGE IN OWNERSHIP ENDORSEMENT

Experience rating is mandatory for all eligible insureds. The experience rating modification factor, if any, applicable to
this policy, may change if there is a change in your ownership or in that of ene cr more of the entities eligible to be
combined with you for experience rating purposes. Change in ownership includes sales, purchases, other transfers,
mergers, consolidations, dissolutions, formations of a new entity and other changes provided for in the applicable
experience rating plan manual.

You must report any change in ownership to us in writing within 90 days of such change. Failure to report such
changes within this period may result in revision of the experience rating modification factor used to determine your
premium.

This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.

(The information below is required only when this endorsement is issued subsequent to preparation of the policy.)

Endorsement Effective Policy No. Endorsement No. —

Insured Premium $

Insurance Company Countersigned by

WC 00 04 14 (07 90) Page 1 of 1

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IMPORTANT NOTICE

You may be required under the Workers’ Compensation law of your state to include liability for compensation to em-
ployees of contractors (or subcontractors) as well as to contractors (or subcontractors) without employees performing
work for you. We will therefore require you to report to us at time of final audit the entire payrnent made to such con-
tractors (or subcontractors) and a premium shall be made based upon the company’s rate or rates applicable to the
trade, business, profession or occupation of the contractor (or subcontracter).

if, however, the contractor (or subcontractor) has furnished a Certificate of Insurance indicating he has Workers’
Compensation coverage, we will not make a premium charge provided the Certificate of Insurance is furnished to our
auditor at the time of audit.

We are advising you of this information at this time to prevent any misunderstanding at audit time. Please request
proper Insurance Certificates from each of your subcontractors.

WB 1130 07 84 West Bend Mutual Insurance Company Page 1 of 1
West Bend. Wisconsin 53095
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NOTICE OF ELECTION TO ACCEPT AN
INSURANCE DEDUCTIBLE FOR ILLINOIS
WORKERS' COMPENSATION MEDICAL BENEFITS

Illinois law permits you to purchase your Workers’ Compensation Insurance with a $1,000 deductible. The de-
ductible is for medical benefits only and applies separately to each accident.

A credit of 1.7% is allowed with the acceptance of this deductible. This 1.7% reduction in premium is subject to
approval by the Illinois Insurance Department.

(f you want this deductible to apply, you must complete this form and return it to West Bend Mutual Insur-
ance Company.

1 Yes, | want a deductible of $1,000 applied to medical benefits under the Illinois Workers' Compensation law. |
understand that the company shall pay the deductible amount and seek reimbursement from the

Named Insured shown below.

Named Insured Customer/Palicy Number
Signature of Owner or Authorized Officer Date
WB 409 J 01 10 West Bend Mutual Insurance Company Page 1 of 1

Wrest Rend Wisconsin 4532095
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY
WC 00 04 18 (Ed. 01 01)

PREMIUM DUE DATE ENDORSEMENT

This endorsement is used to amend:
Section D. of Part Five of the policy is replaced by this provision.

PART FIVE
PREMIUM

D. Premium is amended to read:

You will pay all premium when due. You will pay the premium even if part or all of a workers compensation law is
not valid. The due date for audit and retrospective premiums is the date of the billing.

This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.

(The information below is required only when this endorsement is issued subsequent to preparation of the policy.)

Endorsement Effective Policy No. Endorsement No.
Insured Premium $
Insurance Company Countersigned by

WC 00 04 19 (01 01)

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"WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY WC 00 0421

(Ed. 9-08)

CATASTROPHE (OTHER THAN CERTIFIED ACTS OF TERRORISM) PREMIUM ENDORSEMENT

This endorsement fs notification that your insurance carrier is charging premium to cover the losses that may occur in
the event of a Catastrophe (other than Certified Acts of Terrorism) as that term is defined below. Your policy provides
coverage for workers compensation losses caused by a Catastrophe (other than Certified Acts of Terrorism). This
premium charge does not provide funding for Certified Acts of Terrorism contemplated under the Terrorism Risk
Insurance Program Reauthorization Act Disclosure Endorsement (WC 00 04 22 A), attached to this policy.

For purposes of this endorsement, the following definitions apply:

- Catastrophe (other than Certified Acts of Terrorism): Any single event, resulting from an Earthquake, Noncertified
Act of Terrorism, or Catastrophic Industrial Accident, which results in aggregate workers compensation losses in
excess of $50 million.

- Earthquake: The shaking and vibration at the surface of the earth resulting from underground movement along a
fault plane or from volcanic activity.

- Noncertified Act of Terrorism: An event that is not certified as an Act of Terrorism by the Secretary of Treasury
pursuant to the Terrorism Risk Insurance Act of 2002 (as amended) but that meets all of the following criteria:

a. __ Itis an act that is violent or dangerous to human life, property, or infrastructure:

b. The act results in damage within the United States, or outside of the United States in the case of the
premises of United States missions or air carriers or vessels as those terms are defined in the Terrorism
Risk Insurance Act of 2002 (as amended); and

Cc. Itis an act that has been committed by an individual or individuals as part of an effort to coerce the civilian
population of the United States or to influence the policy or affect the conduct of the United States
Government by coercion.

- Catastrophic Industrial Accident: A chemical release, large explosion, or small blast that is localized in nature and
affects workers in a small perimeter the size of a building.

The premium charge for the coverage your policy provides for workers compensation losses caused by a
Catastrophe (other than Certified Acts of Terrorism) is shown in Item 4 of the Information Page or in the Schedule
below.

Schedule
State Rate Premium
See Declarations See Declarations See Declarations

This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.

(The information below is required only when this endorsement is issued subsequent to preparation of the policy.)

Endorsement Effective Policy No. Endorsement No.
Insured Premium:
insurance Company Countersigned by

WC 0004 21¢C

(Ed, 9-08)

Convrioht 270028 National Connecil on Comnensation Incurance Inc All Rinhte Recarved
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‘WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY ) WC 0004 22 A
. (Ed, 9-08)

TERRORISM RISK INSURANCE PROGRAM REAUTHORIZATION ACT DISCLOSURE ENDORSEMENT

This endorsement addresses the requirements of the Terrorism Risk Insurance Act of 2002 as amended and extended
by the Terrarism Risk insurance Program Reauthorization Act of 2007. It serves to notify you of certain limitations
under the Act, and that your insurance carrier is charging premium for losses that may occur in the event of an Act of
Terrorism.

Your policy provides coverage for workers compensation losses caused by Acts of Terrorism, including workers
compensation benefit obligations dictated by state law. Coverage for such losses is still subject to all terms,
definitions, exclusions, and conditions in your policy, and any applicable federal and/or state laws, rules, or
regulations.

Definitions

The definitions provided in this endorsement are based on and have the same meaning as the definitions in the Act .If
words or phrases not defined in this endorsement are defined in the Act, the definitions in the Act will apply.

“Act® means the Terrorism Risk Insurance Act of 2002, which took effect on November 26, 2002, and any
amendments thereto resulting from the Terrorism Risk Insurance Program Reauthorization Act of 2007.

“Act of Terrorism” means any act that is certified by the Secretary of the Treasury, in concurrence with the Secretary of
State, and the Attorney General of the United States as meeting all of the following requirements:

a. Theactis an act of terrorism.
b. The act is violent or dangerous to human life, property or infrastructure.

c. The act resulted in damage within the United States, or outside of the United States in the case of the premises of
United States missions or certain air carriers or vessels.

d. The act has been committed by an individual or individuals as part of an effort to coerce the civilian population of
the United States or to influence the policy or affect the conduct of the United States Government by coercion.

“Insured Loss" means any loss resulting from an act of terrorism (and, except for Pennsylvania, including an act of
war, in the case of workers compensation) that is covered by primary or excess property and casualty insurance
issued by an insurer if the toss occurs in the United States or at the premises of United States missions or to certain
air carriers or vessels.

“Insurer Deductible" means, for the period beginning on January 1, 2008, and ending on December 31,2014, an
amount equal to 20% of our direct earned premiums, over the calendar year immediately preceding the applicable
Program Year.

“Program Year’ refers to each calendar year between January 1, 2008 and December 31, 2014, as applicable.
Limitation of Liability

The Act limits our liability to you under this policy. If aggregate Insured Losses exceed $100,000,000,000 ina Program
Year and if we have met our Insurer Deductible, we are not [fable for the payment of any portion of the amount of
Insured Losses that exceeds $100,000,000,000; and for aggregate Insured Losses up to $1 00,000,000,000, we will
pay only a pro rata share of such Insured Losses as determined by the Secretary of the Treasury.

Policyhoider Disclosure Notice

1. Insured Losses would be partially reimbursed by the United States Government. If the aggregate industry Insured
Losses exceed $100,000,000 in a Program Year, the United States Government would pay 85% of our Insured
Losses that exceed our Insurer Deductible.

2. Notwithstanding item 1 above, the United States Government will not make any payment under the Act for any
portion of Insured Losses that exceed $100,000,000,000.

3. The premium charge for the coverage your policy provides for Insured Losses is included in the amount shown in
Item 4 of the Information Page or in the Schedule below.

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WC 00 0422 A WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY
(Ed. 9-08)
Schedule
State Rate’ Premium
See Declarations See Declarations See Declarations

This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.

(The information below is required onty when this endorsement is issued subsequent to preparation of the policy.)

Endorsement Effective Policy No. Endorsement No.
Insured - Premium $
Insurance Company Countersigned by

we 00 04 224

(Ed. 9-08)

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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY
WC 12 04 02 (Ed. 09-92)

ILLINOIS CONTRACTING CLASSIFICATION PREMIUM ADJUSTMENT ENDORSEMENT

The premium for the policy may be adjusted by an Iilinois Contracting Classification Premium Adjustment factor. The
factor was not available when the policy was issued. If you qualify, or if an estimated factor has been applied, we will
issue an endorsement to show the proper premium adjustment factor after it is calculated.

This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.

{The information below is required only when this endorsement is issued subsequent to preparation of the policy.)

Endorsement Effective Policy No. Endorsement No.

Insured Premium $

insurance Company Countersigned by

WC 12 04 02 (09-92) Page 1 of 1

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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY
WC 142 06 01 C (Ed. 04 01)

ILLINOIS AMENDATORY ENDORSEMENT

This endorsement applies only to the insurance provided by the policy because lilinois is shown in Item 3.A. of the
Information Page.

Part Six (Conditions), Condition A. inspection, Condition D. Cancellation and Condition E. Sole Representative of
the policy are replaced by these four Conditions.

tnspection

We have the right, but are not obliged, to inspect your workplaces at any time, Our inspections are not safety inspec-
tions. They relate only to the insurability of the workplaces and the premiums to be charged. We may give you reports
on the conditions we find. We may also recommend changes. While they may help reduce losses, we do not under-
take to perform the duty of any person to provide for the health or safety of your employees or the public. We do not
warrant that your workplaces are safe or healthful or that they comply with laws, regulations, codes or standards. The
National Council on Compensation Insurance has the same rights we have under this provision.

Cancellation

1. You may cancel this policy. You will mail or deliver advance written notice to us, stating when the cancellation is to
take effect.

2. We may cancel this policy. We will mail to each named insured and to the broker or the agent of record advance
written notice stating when the cancellation is to take effect.

3. If we cancel because you do not pay all premium when due, we will mail the notice of cancellation at least ten days
before the cancellation is to take effect. if we cancel for any other reason, we will mail the notice:

a. at least 30 days before the cancellation is to take effect if the policy has been in force for 60 days or less;

b. at least 60 days before the cancellation is to take effect if the policy has been in force for more than 60 days.
4. If this policy has been in effect for 60 days or more, we may cancel only for one of the following reasons:

a. Nonpayment of premium.
The policy was issued because of a material misrepresentation,
You violated any of the material terms and conditions of the policy.
There are unfavorable underwriting factors, specific to you, that were not present when the policy took effect.
The Director has determined that we no longer have adequate reinsurance to meet our needs.
The Director has determined that continuation of coverage could place us in violation of the laws of Illinois.
§. Our notice of cancellation will state our reasons for canceling.
6. The policy period will end on the day and hour stated in the cancellation notice.

Nonrenewal

1. We may elect not to renew the policy. If we fail to give 60 days notice, the policy will automatically be extended for
one year, Mailing that notice to you at your fast known mailing address will be sufficient to prove notice. An exact
and unaltered copy of such notice shall also be sent to the insured’s broker, if known, or the agent of record at the
last mailing address known by the company.

2. Our notice of nonrenewal will state our reasons for not renewing.

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3. If we fail to provide the notice of nonrenewal as required, the policy will still terminate on its expiration date ff:
a. We show youa willingness to renew the policy; or
. You notify us or the agent or broker who procured this policy that you do not want the policy renewed; or
. You fail to pay all premiums when due; or
. You obtain other insurance as a replacement of the policy. .
Sole Representative

The insured first named in Item 1 of the Information Page will act on behalf of all insureds to change this policy, re-
ceive return premium or to give us notice of cancellation.

Part Five (Premium), Section G. Audit is replaced by this Section.
Audit

You will let us examine and audit ail your records that relate to this policy. These records include fedgers, journals,
registers, vouchers, contracts, tax reports, payroll and disbursement records, and programs for storing and retrieving
data. We may conduct the audits during regular business hours during the policy period and within three years after
the policy ends. Information developed by audit will be used to determine final premium. The National Council on
Compensation Insurance has the same rights we have under this provision.

aor

This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.

(The information below is required only when this endorsement is issued subsequent to preparation of the policy.)

Endorsement Effective Policy No. Endorsement No.

Insured Premium $

Insurance Company Countersigned by

WC 1206 01C

(Ed. 04-01)

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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY
WC 12 06 02 A (Ed. 08-92 )

ILLINOIS MEDICAL BENEFITS DEDUCTIBLE ENDORSEMENT

This endorsement applies only to the insurance provided by Part One (Workers Compensation Insurance) because

Illinois is shown in Item 3.A. of the Information Page.

1. Part One (Workers Compensation Insurance) applies to medical benefits only in excess of a deductible amount of
$1,000. This deductible applies separately to each accident, regardless of the number of persons injured in the ac-
cident.

2. We will pay the deductible amount for you, but you must reimburse us within 30 days after we send you notice that
payment is due. If you fail to reimburse us, we may cancel the policy in accordance with Illinois cancellation law.
We may keep the amount of unearned premium that will reimburse us for the payments we made. These rights are
in addition to other rights we have to be reimbursed.

This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.

(The information below is required only when this endorsement is issued subsequent to preparation of the policy.)

Endorsement Effective Policy No. Endorsement No.

Insured Premium $

Insurance Company Countersigned by

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